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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                         Chapter 11

    BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,
                                                                   (Jointly Administered)
                     Debtors.1
                                                                   Ref. Docket Nos.: 7515, 7953, and 8567


                                          CERTIFICATE OF SERVICE

             Undersigned counsel hereby certifies that on Friday, February 4, 2022, the Limited

Objection to Cure Amounts Set Forth in Plan Supplement was e-filed on behalf of creditor and

counterparty AT&T Corp., on behalf of itself and its affiliates in the above-captioned chapter 11

cases, and served by CM/ECF on all parties registered to receive such notifications. Additionally,

the following parties were served electronically:

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1
       The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
       number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
       address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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